Case 2:Ol-CV-02852-BBD Document 88 Filed 08/23/05 Page 1 of 4 Page|D 95

BII.ED BY *_ D_c.
IN THE UNI'I`ED STATES DISTRICT COURT

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CLERK. li-S. l`:§$$l??l$l COURT
ZURICH AMERICAN INSURANCE l-'Jfl] CF~ i i,',_;§i_.ij|S

COMPANY
Plaintii`f and Counter-Defendant

v_ No. 01-2852 D
PORT 740, INC., FULLEN DOCK &
WAREHOUSE, INC., JIMMY T. WOOD,
INC., and ANDREW STEWART,

Defendants, Counter-Plaintiffs, and

Third-Party Plaintiffs,

HARBOR INSURANCE SERVICES, LTD.,
Third-Party Defendant.

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ORDER STRIKING MOTIONS WITHOUT PREJUDICE

 

lt appears to the Court that the parties have stipulated that this case remains administratively
closed, as no party has moved to reopen it. Although the third-party Defenda.nt, Harbor lnsurance
Services, (“Harbor”) has filed a motion for summary judgment, it was not Harbor’s intention to
reopen the case, but instead to make Harbor’s position known to all parties. Moreover, the parties
have stipulated that responses to Harbor’s motion for summary judgment will not be due until thirty

days after an order is entered reopening the case.

 
 
 

Thin easement entered on the docket
\.'-""‘“- " ”3 and/cr 79(3) FHGP on

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Accordingly, the Clerk is hereby directed to strike Harbor’s motion for summary judgment
(dkt. # 84) without prejudice to restoration, if necessary, at whatever time a party requests that the

litigation be reopened. Upon notice to the Court, the motion will be restored for full consideration

by the Court,

IT IS SO ORDERED this a 9" day of August, 2005.

BBE GICE BoiJI§DoNALf)

UNI']QD STATES DISTRICT J'UDGE

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 88 in
case 2:0]-CV-02852 Was distributed by faX, mail, or direct printing on
August 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

